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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                        )   Magistrate Docket No. '22 MJ03161
                                                 )
                          Plaintiff,
                                                 )
                                v.               )   COMPLAINT FOR VIOLATION OF:
                                                 )   Title 8, U.S.C. § 1324(a)(l)(A)(ii)
                                                 )   and (v)(I) Conspiracy to Transport Illegal
                                                 )   Aliens & Title 18, U.S.C § 2 Aid and Abet
                                                 )
Gurdev SINGH,                                    )   Title 21, U.S.C § 844(a) Simple Possession
Ranel Oplado BONGAYAN,                           )
                                                 )
                                                 )
                        Defendants.              )
                                                 )
                                                 )

       The undersigned complainant being, duly sworn, states:
                                         Count One

On or about August 31, 2022, within the Southern District of California, defendants Gurdev
SINGH and Ranel Oplado BONGAYAN with the intent to violate the immigration laws of the
United States, knowingly or in reckless disregard of the fact that certain aliens, namely, Jose
Nohe MURILLO-Pelayo, Ronaldo MURILLO-Rosas and Reynaldo VASQUEZ-Bernabe, had
come to, entered and remained in the United States in violation of law, did conspire with
Leonard Jan LIM and Jonathan SCOTT (charged elsewhere 22MJ03120) to transport and
move, said aliens within the United States in furtherance of such violation of law; in violation
of Title 8, United States Code, Section 1324(a)(l)(A)(ii) and (v)(I) and Title 18, United States
Code, Section 2.
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                                             Count Two

 On or about August 31, 2022 in the Southern District of California, the defendants, Gurdev
 SINGH and Ranel Oplado BONGAYAN, knowingly and intentionally possessed Cocaine and
 Fentanyl, Schedule I controlled substances. In violation of Title 21, United States Code, Section
 844(a).

 And the complainant further states that this complaint is based on the attached probable cause
 statement, which is incorporated herein by reference.




                                                    ~                     /
                                                    SIGNATURE OF COrvfl>LAINANT
                                                    Giancarlo Lugo
                                                    Border Patrol Agent


SWORN AND ATTESTED TO UNDER OATH BY TELEPHONE, IN ACCORDANCE
WITH FEDERAL RULE OF CRIMINAL PROCEDURE 4.1, ON SEPTEMBER 1, 2022.




                                                    United States Magistrate Judge
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                             PROBABLE CAUSE STATEMENT
On August 31, 2022, Supervisory Border Patrol Agent G. Gonzalez Jr., was assigned Border
Patrol Operations in San Diego Sector's area of responsibility near Chula Vista, California.
Agent Gonzalez is currently assigned to the San Diego Sector Law Enforcement Operations
Division. SBPA Gonzalez was in full United States Border Patrol rough-duty uniform attire
with all badges and insignia visible.

At approximately 8:50 AM, Agent Gonzalez walked outside the San Diego Sector Headquarters
and observed the driver of a red vehicle later identified as defendant Ranel Oplado
BONGAYAN and and individual outside the vehicle later identified as defendant Gurdev
SINGH. Agent Gonzalez observed SINGH walk through hedges and look through the windows
of Sector Headquarters. Agent Gonzalez contacted Agent C. Rodriguez-Ponciano via cell
phone and requested his assistance as he approached SINGH and BONGAY AN's. Agent
Gonzalez questioned both individuals regarding their visit to Sector Headqua11ers. Agent
Gonzalez decided to separate SINGH and BONGA YAN who both appeared nervous with
inconsistent stories and observed drug paraphernalia on the rear seat of the vehicle as he was
escorting BONGA YAN away from SINGH.

At approximately 9:00 AM, Agent Gonzalez detained both SINGH and BONGAYAN and
placed them in handcuffs. Agent Gonzalez requested additional assistance from San Diego
Sector - Intelligence Unit. At approximately 9:55 AM, Border Patrol Agent Intelligence C.
Hatala arrived at Sector Headquarters and immediately recognized SINGH from multiple
previous encounters and arrests with Border Patrol for alien smuggling. Agent Hatala identified
himself as a United States Border Patrol Agent to SINGH and asked SINGH if he recognized
him, to which SINGH replied 11 Y eah." Agent Hatala asked SINGH who the glass
methamphetamine pipe located in the vehicle belonged to and he replied, "It's not mine, I don't
do anything anymore, I'm sixteen days clean. 11 Agent Hatala asked SINGH if he had anything
illegal on his person. SINGH replied "No." Agent Hatala searched SINGH and located a small
plastic bag with a white powdery substance in his front left shorts pocket, which later tested
positive for Fentanyl and weighed 9.84 grams. During a search of the vehicle, a small clear vile
with black twist-top containing a white powdery substance located in the center console area
later tested positive for cocaine and weighed 8.24 grams.

At approximately 10:00 AM, Agent Hatala placed SINGH under arrest. Agent Hatala then
requested further assistance from members of the Brown Field Station Targeted Enforcement
Unit. At approximately 10: 10 AM, Agent B. Hurlbut arrived at the location. Agent Hurlbut
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conducted a brief search of the vehicle and located a scale with a white, powdery residue inside
a red bag. Agent Hurlbut approached BONGA YAN and asked if he would be willing to speak
with him. BONGA YAN stated he would speak with Agent Hurlbut and provided following
statement in the field.

BONGA YAN stated he and SINGH came to Sector Headquarters to find more inf01mation
about BONGAY AN1s close friends as BONGA YAN believed they were in Border Patrol
custody. The close family friends were identified as Leonard Jan LIM and Jonathan SCOTT,
both are defendants in a 1324 criminal case from August 27, 2022. BONGA YAN stated that on
August 27, 2022, he was with LIM, SCOTT and SINGH in the Otay Lakes area in order to
smuggle illegal aliens. BONGA YAN stated he was riding in a car with SINGH, while LIM and
SCOTT were in a different vehicle together. BONGAYAN stated they were all being directed
that day by SINGH regarding the smuggling event. BONGAYAN stated he became acquainted
with SINGH the day before after being introduced to him by SCOTT. BONGAYAN stated he
was propositioned by SINGH to go down to the area to pick up illegal aliens and SINGH would
pay him approximately $4000.00 USD. BONGA YAN stated they were successful in picking
up illegal aliens on that date but that he did not know what became of LIM and SCOTT until
SINGH told him they were probably caught by the Border Patrol.

Agent Hurlbut requested consent to look through BONGA YAN's cellular phone to confirm
what he was saying. BONGAYAN gave verbal consent, unlocked his phone and handed it to
Agent Hurlbut. BONGA YAN's phone revealed multiple conversations in the "WhatsApp"
application that confirmed BONGA YAN was in the Otay Lakes area on Saturday August 27,
2022. This was evidenced by photographs he had taken of the area. The text messages
referenced picking people up on the side of Otay Lakes Road and also referenced code words to
yell upon arriving to the specific pick-up location. These texts heavily involved a person
BONGA YAN had saved in his phone as "Devin." It appeared to Agent Hatala that "Devin" was
doing much of the directing and coordination of the smuggling events. Agent Hurlbut asked
BONGA YAN who Devin was. BONGA YAN pointed toward the vehicle where SINGH was
located and stated "Him." Agent Hurlbut confirmed that BONGA YAN was referring to SINGH
   11
as Devin." At approximately 10:20 AM, Agent Hatala placed BONGA YAN under arrest.

On August 31, 2022, defendant SINGH was reminded of his Miranda rights and agreed to speak
without a lawyer present. SINGH stated he had been atTested for alien smuggling, harboring,
and conspiracy in the last three months in the same general area. SINGH stated he has
successfully picked up six groups of illegal aliens totaling about 25 aliens since June. SINGH
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stated he got involved in alien smuggling after he met an individual at a party. The individual
offered him $1,000 USD per trip to smuggle aliens from San Diego back to Los Angeles.
SINGH stated he accepted and the individual gave SINGH cell phone numbers to coordinators
who would call him when they needed him. SINGH stated the coordinators deposited two
payments totaling $3,000 USD to his Greendot.com mobile bank account. SINGH stated his
account was blocked and he was later paid in cash for his subsequent smuggling trips. SINGH
gave consent to his Greendot.com account and provided his login and password. SINGH stated
his last smuggling trip was last Monday, August 29, 2022. SINGH stated the aliens were not in
the area and left without picking up any aliens.

Co-defendant BONGAYAN was reminded of his Miranda rights and stated he understood his
rights and was willing to speak to Agents without an attorney present. BONGAYAN stated this
past Saturday, August 27, 2022, he came down to San Diego with SINGH, aka "Devin," his
cousin, Leonard LIM, and Jonathan SCOTT. BONGAYAN stated they all came down to San
Diego with the intention of "partying" and "gambling.'' BONGAYAN stated while "high" on
various drugs, "Devin" propositioned everyone to pick-up illegal aliens and drive them further
into the United States for money. BONGAYAN stated LIM and SCOTT agreed and took a
vehicle to go smuggle, however, they never returned, nor has he heard from them since.
BONGAYAN stated he was told by "Devin" that his close family friend LIM was possibly in
danger and "Devin" stated he knew where LIM was being held. BONGAYAN stated "Devin''
rented the BMW they were found in today and both drove to the San Diego Border Patrol
Sector to locate LIM. While at sector Headquarters they were encountered by agents and
detained. BONGAYAN was asked about his involvement in alien smuggling today;
specifically if there was another reason he was in the area besides trying to find LIM. He stated
he was offered $4,000 USD "to pick up two girls." BONGAYAN was asked if the two girls
were illegal aliens and he stated they were, but they never made it out to the location.
BONGAYAN stated he was never given the $4000 USD and that "Devin'' was holding it over
his head. BONGAYAN was asked about "Devin's" role in alien smuggling and he described
"Devin" as the smuggling "designer, author, architect and manipulator." BONGA YAN also
went on to say "Devin" is highly involved in narcotics distribution.

On August 27, 2022, Defendants LIM and SCOTT were arrested and charged with Title 8,
U.S.C. § 1324(a)(l)(A)(ii) Transportation of Illegal Aliens in case number 22MJ03120. A total
of five backseat passengers, including material witnesses, Jose Nohe MURILLO-Pelayo,
Ronalda MURILLO-Rosas and Reynaldo VASQUEZ-Bernabe, were in the vehicle driven by
LIM with SCOTT as the passenger. All five backseat passengers, including MURILLO-Pelayo,
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MURILLO-Rosas, and VASQUEZ stated they are citizens of Mexico without immigration
documents which would allow them to enter or remain in the United States legally.

On August 27, 2022, defendant LIM stated he recalled his rights and was willing to answer
questions without an atto111ey present. LIM stated that on Thursday, August 25, 2022, his
friend "Johnny'', Jonathan SCOTT, and a mutual friend "Afro guy" later identified in the
interview as "Devon" asked him if he was available to drive to a "certain place" and pick up and
drop some people off. LIM stated he agreed because Johnny owed him $400.00 and this would
be an opportunity to receive that money, plus more. LIM stated Johnny and Devon offered him
$5 00 to $1,000 per illegal alien he successfully transported. LIM later stated that he believes
Johnny and Devon have done this several times before because of the way they described the
smuggling event. LIM stated Johnny and Devon told him it was easy and a couple of weeks
ago, he overhead Johnny and Devon talking about smuggling events where they made $500 to
$1,000 per illegal alien. LIM also stated Devon had been arrested by Border Patrol Agents and
was released. LIM stated that today, August 27, 2022, he met with Johnny and Devon at a
restaurant in San Pedro, California. LIM stated form there, he followed Johnny, Devon, and an
unknown individual to the Lowes parking lot in Eastlake, California. LIM claimed they an-ived
at the Lowes parking lot, where he waited in the area for approximately ten hours. LIM added
that while he was in the parking lot, there were approximately four to six cars waiting to pick up
illegal aliens. When asked why he believed they were there to smuggle, LIM stated because of
the way the people in those vehicles interacted with Devon. Lim stated those individuals would
either honk, flash their lights, or make hand gestures as they drove by. LIM stated he drove to
the pin location where the illegal aliens were located, but no one was there so he returned to the
Lowes parking lot. LIM stated that he told Johnny and Devon the illegal aliens were not there.
LIM stated Johnny and Devon assure him "there will be more," to "be patient" and "it'll be
worth your time.'' LIM stated Devon texted Johnny the location of the illegal aliens. LIM
stated Johnny got in LIM's car and they drove to the pin location. LIM stated once they arrived,
Johnny yelled out the window "tajin" and "out of nowhere" the illegal aliens entered the rear
passenger seats of the of his vehicle. LIM stated he drives a Chevrolet Spark and the rear seats
only contains seat belts for two people. LIM stated as the illegal aliens were entering his
vehicle, a Border Patrol vehicle drove past his location. LIM stated he saw the Border Patrol
vehicles emergency lights, but did not stop because Johnny was telling h im to keep going. LIM
added that Johnny told him that he has fled from Border Patrol Agents and that they will
eventually stop pursuing. LIM stated Johnny was giving him instructions on where to go and
telling him to keep going because they are near the border. LIM stated that while he was trying
to evade from Agents, he felt his rear tire pop. LIM stated he no longer felt safe driving the
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vehicle and eventually pulled over. LIM stated he placed his hands out the window, letting
agents know he was surrendering. LIM stated that Johnny was also arrested with him. LIM
claimed he did not know exactly where he was going to drop off the illegal aliens, but knew it
was approximately 45 minutes to an hour away from San Diego. LIM provided verbal and
written consent to his blue iPhone 12 pro that he was using to communicate during the
smuggling event. Search revealed a WhatsApp group chat containing instructions of the
smuggling event. One of the numbers in the group chat was a number LIM stated that the
number belongs to Devon. LIM was asked if he were shown a photograph of Devon, would he
be able to identify him. LIM responded "yes." A search through DHS databases revealed the
same phone number is associated to a Gurdev SINGH. SINGH is associated to at least three
smuggling events in the Brown Field area of responsibility. LIM was shown a photograph of
SINGH and asked who the person in the photograph was. LIM stated "that's afro guy, Dev."
